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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 11-20427-WILLIAMS/TURNOFF

    DISNEY ENTERPRISES, INC.,
    TWENTIETH CENTURY FOX FILM CORPORATION,
    UNIVERSAL CITY STUDIOS PRODUCTIONS LLLP,
    COLUMBIA PICTURES INDUSTRIES, INC., and
    WARNER BROS. ENTERTAINMENT INC.,

    Plaintiffs,

    v.

    HOTFILE CORP., ANTON TITOV, and
    DOES 1-10.

    Defendants.
    ____________________________________/

    HOTFILE CORP.,

    Counterclaimant,

    v.

    WARNER BROS. ENTERTAINMENT INC.,

    Counterdefendant.
    ____________________________________/


                       PLAINTIFFS’ RESPONSE TO THE COURT’S
                       OMNIBUS ORDER OF NOVEMBER 26, 2013




                            [PUBLIC REDACTED VERSION]
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           Pursuant to this Court's Omnibus Order of November 26,2013, as modified by its
    paperless order of December 3, 2013, Plaintiffs Disney Enterprises, Inc., Twentieth Century Fox
    Film Corporation, Universal City Studio Productions LLLP, Columbia Pictures Industries, Inc.,
    and Warner Bros. Entertainment Inc.("Plaintiffs") hereby identify the information disclosed in
    this case that should remain confidential even if this Court were to unseal the record more
    generally. As explained in greater detail below, some of the filings in the record of this case
    contain highly sensitive information relating to the systems and criteria employed by Plaintiffs
    Warner Bros. Entertainment Inc.("Warner") and Columbia Pictures Industries, Inc.
   ("Columbia") to detect and prevent the online infringement of their works, the efficacy of which
    depends critically upon shielding the underlying operation of these systems from putative
    infringers. In addition, the record also includes commercially sensitive pricing terms of the
    business deals between the Plaintiffs and a third party antipiracy vendor, Vobile Inc.("Vobile"),
   that could be harmful to the business interests of both Vobile and the Plaintiffs in this case.
           The sensitive information in the sealed record of this case falls generally into five
    categories, each of which this Court should continue to maintain as confidential. During the
    course ofthe litigation, Warner revealed




                                                                In addition, during the course of the
   litigation, Columbia revealed
                                                              Finally, the record also contains(5)
   commercially sensitive information produced by a third party, Vobile, regarding its finances and
   business arrangements with the Plaintiffs in which there is no legitimate interest in public
   disclosure to outweigh the likely harm to both Plaintiffs' and Vobile's business interests that
   such disclosure would cause.
                                         LEGAL STANDARD
           The Eleventh Circuit has held that the common law and First Amendment rights of access
   to judicial proceedings can be overcome by a showing of"good cause" to maintain matters in
   confidence. See Romero v. Drummond Co., 480 F.3d 1234, 1246(11th Cir. 2007); Chicago
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    Tribune v. Bridgestone/Fzrestone, Inc., 263 F.3d 1304, 1310, 1313 (11th Cir. 2001). When a
    party seeks to seal only a portion of the record, a determination of good cause requires
    "balanc[ing] the asserted right of access against the other party's interest in keeping the
    information confidential." Chicago Tribune, 263 F.3d at 1309.~ In assessing whether to keep
    information contained in court documents under seal,"courts consider among other factors,
    whether allowing access would impair court functions or harm legitimate privacy interests, the
    degree of and likelihood of injury if made public, the reliability of the information, whether there
    will be an opportunity to respond to the information, whether the information concerns public
    officials or public concerns, and the availability of a less onerous alternative to sealing the
    documents." Romero,480 F.3d at 1246. In particular, a party's privacy or proprietary interest in
    information can overcome the public's interest in access to sealed information. Id. (citing Nixon
    v. Warner Commc'ns, Inc., 435 U.S. 589, 598 (1978)).
                  INFORMATION THAT SHOULD REMAIN CONFIDENTIAL
    I.     INFORMATION REGARDING WARNER'S COPYRIGHT ENFORCEMENT
           SYSTEM.

           A.      Information Regarding the Means Warner Uses to Identify Infringing Files
                   Online and Avoid Mistaken Identifications.

           This Court should maintain the confidentiality of information regarding the logic and
    construction of the system Warner uses to identify infringements of its copyrighted materials
   online and to prevent mistaken identifications. In particular, this Court should preserve the
   confidentiality of two categories of informatio




    ~ The showing required to maintain confidentiality over discrete items is thus a substantially less
   demanding one than the standard to keep an entire case record under seal. In contrast,"the
   decision to seal the entire record of the case —including the pleadings, docket entries, orders,
   affidavits, and hearing transcripts —must be `necessitated by a compelling governmental interest
   [] and [be] narrowly tailored to that interest."' Perez-Guerrero v. U.S. Att y Uen., 717 F.3d
   1224, 1235 (1 lth Cir. 2013)(internal quotation marks omitted; alterations in original), cent.
   denied, No. 13-323, 2014 WL 210667(U.S. Jan 21, 2014)


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                                      and (2)information regarding the logic employed by Warner's
    system to locate and identify content that infringes Warner's copyrights online in the first
    instance.3
           The record in this case includes information, designated either "Confidential" or "Highly
    Confidential" by Warner, describing the specific methods that Warner uses to search various
    online locations for files that infringe Warner's copyrights. See, e.g., Warner Bros.
    Entertainment Inc.'s Motion for Summary Judgment and Memorandum of Law in Support of
    Motion for Summary Judgment (filed under seal)(hereinafter "Warner Motion for Summary
    Judgment") at 5-6 ;Declaration of David Kaplan in Support of Warner Bros. Entertainment's
    Motion for Summary Judgment (filed under seal)(hereinafter "Kaplan MSJ Decl."), ¶~ 7-11. As
    explained in Warner's Motion for Summary Judgment, filed on February 10, 2012, _




           Making public information regarding the operations of Warner's antipiracy software
    would severely undercut the effectiveness of Warner's efforts to identify infringing copies of its
    works online —and,to the extent any other copyright owners or their antipiracy vendors utilize
    search methods with similar features, may even undermine the parallel efforts of other Plaintiffs.
    As this Court is well aware, Warner is engaged in a continuous arms race against new and ever
    more effective methods of online copyright infringement, and Warner's antipiracy system is
    essential to meeting this challenge. See Warner Motion for Summary Judgment at 3-7;
    Memorandum of Law in Support of Plaintiffs' Motion for a Protective Order Regarding
    Plaintiffs' Antipiracy Investigations and Enforcement Procedures(D.E. 105-1), at 7-8. Putative

   2 The information regarding-_ that has previously been designated and should
   remain confidential or highly confidential is attached hereto as Exhibit A.
   3 The information regarding                                                     that has
   previously been designated and should remain confidential or highly confidential is attached
   hereto as Exhibit B.

                                                     3
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    infringers familiar with the methods used by Warner's system to locate and identify infringing
    content could readily take steps to avoid detection of their own infringing activity. See
    Declaration of David Kaplan in Support of Plaintiffs' Motion for a Protective Order Regarding
    Plaintiffs' Antipiracy Investigations and Enforcement Procedures (D.E. 106-14)(hereinafter
    "Kaplan Protective Order Decl."), ¶ 6("[P]ersons familiar with Warner's methods and strategies
    for identifying unauthorized Warner content online could infringe without fear of detection if
    they knew how the detection worked.").




                      Because releasing information to the public and thus to putative infringers
    regarding the operations of Warner's antipiracy system would stymie Warner's ongoing
    antipiracy efforts, as well as those of the other Plaintiffs, the information should remain
    confidential.
           Indeed, the fact that


                                                  particularly vulnerable to misuse. Information
    produced in this litigation explains that Warner,




                                                                        Order on Pending Motions for
    Summary Judgment (filed under seal) at 30. Hotfile attached
                                                                                       to one if its
    summary judgment filings in this case. See Opp'n MSJ Decl., Exhibit 15.
           Making public                                                                would provide
    putative infringers with a powerful tool for circumventing Warner's online copyright
    enforcement efforts:
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                                                                                              Given that
    the purpose for
                              it would be particularly perverse to create a situation in which persons
    engaged in online infringement could use that very feature of Warner's system against it.
            Warner's legitimate interest in protecting information regarding the operations of its
    robots outweighs any interest ofthe public in accessing this information. First, the operation of
    Warner's antipiracy system,                                               ,is highly sensitive
    information that Warner has a clear and legitimate interest in keeping confidential. Courts have
    long recognized that a party's proprietary interest in information revealed during the course of
    litigation can, in and of itself, overcome the public's interest in accessing that information. See
    Romero,480 F.3d at 1246; Chicago Tribune, 263 F.3d at 1313.
           Moreover, courts in analogous criminal contexts have recognized that potential prejudice
    to an ongoing criminal investigation represents a compelling interest that justifies the closure of
   judicial records. See, e.g., United Stater v. Valenti, 987 F.2d 708, 713-15 (1 lth Cir. 1993). In
    United States v. Steinger, for example, the Southern District of Florida sealed the records of a
   grand jury proceeding that would have revealed the nature of an ongoing investigation because
    publicizing the information would alert the subjects of the investigation, compromise the
   investigation itself, and likely lead to the destruction of evidence. 626 F. Supp. 2d 1231, 1235
   (S.D. Fla. 2009); see also Bennett v. United States, No. 12-61499-civ, 2013 WL 3821625, at *4
   (S.D. Fla. July 23, 2013). Warner similarly investigates online pirates in order to prevent the
   illegal infringement of its legally protected copyright. Indeed, one of the purposes of Warner's
   antipiracy efforts is to identify and refer for criminal prosecution persons engaged in criminal
   infringement activity. See Kaplan Protective Order Decl., DE 106-14,~ 5. As in the criminal
   context, publicizing the details of Warner's investigation methods —
                                                                             — would compromise
   Warner's attempts to stop violations of its copyrights: it would alert online infringers about the
   nature of Warner's methods and provide pirates with a means of avoiding or tricking Warner's
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    system. This Court should therefore recognize Warner’s legitimate interest in keeping
    information regarding the operations of its antipiracy system confidential.
            Finally, there is no genuine public interest in publicizing information about Warner’s
    antipiracy system and strategies at this level of detail. Indeed, the only possible use of this
    information by anyone other than Warner or its antipiracy vendors would be to evade Warner’s
    antipiracy systems and thereby facilitate online copyright infringement. And even if there were
    some marginal public interest in satisfying curiosity about the operation of Warner’s antipiracy
    system and methods, Warner has minimized any burden on that interest by seeking, in this filing,
    to maintain confidentiality over only a very small subset of the information designated as
    confidential under the protective order in this case. Cf. Curry v. McNeil, No. 3:08cv539, 2009
    WL 395247, at *2 (N.D. Fla. Feb. 17, 2009) (courts restrict public access to confidential
    information “in a way that will minimize that burden on the public’s right” of access); M.P. v.
    Schwartz, 853 F. Supp. 164, 168–69 (D. Md. 1994) (redacting information in a manner
    “narrowly tailored” to the interest in confidentiality). The information regarding the operations
    and construction of Warner’s antipiracy software and strategies,
    should therefore remain permanently sealed.
            B.       Information Regarding Warner’s Internal Investigation of its Antipiracy
                     Software in This Litigation.

            There is similarly good cause to maintain the confidentiality of information regarding
    Warner’s audits and assessments of its antipiracy system triggered by Hotfile’s allegations in this
    litigation.4 Warner strives to have the most accurate antipiracy systems possible, and its internal
    audits and tests of those systems – including those run in response to this litigation – are part of
    that effort. It is crucial that these tests remain confidential, as Warner must be able to test its
    systems and identify errors without fear that its efforts to improve its systems will later be used
    against it, whether in litigation or to create public embarrassment. The willingness of parties
    such as Warner to engage in thorough internal investigations in response to accusations of
    wrongdoing depends upon the legitimate expectation that such investigations can be conducted
    in confidence.


    4
      The information regarding Warner’s investigation of its antipiracy system for purposes of this
    litigation that has previously been designated and should remain confidential or highly
    confidential is attached as Exhibit C.

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             As this Court is aware, Hotfile alleged in this litigation
                                             an allegation that was based on misleading interpretations
    of two internal Warner emails.5 Even though Hotfile’s allegation is inaccurate – indeed,
    precisely because the allegation is inaccurate – the disclosure of the allegation and the
    documents on which it is based would needlessly smear Warner, and could encourage further,
    meritless claims against Warner arising out of its antipiracy system.6
             Keeping information about Warner’s internal investigations confidential also goes hand
    in hand with maintaining confidentiality regarding the features of Warner’s system described in
    Part 1.a, supra. Information regarding Warner’s investigation of its antipiracy system that has
    become part of the record in this litigation by necessity describes many sensitive and confidential
    features of the underlying software programs that Warner uses as part of its means for detecting
    infringing content online. For example, the summary judgment record includes testimony from
    Warner that details the different categories of information that Warner employees reviewed to
                                when Warner conducted an “audit” of its antipiracy system in the
    summer of 2011, which in turn reveal how Warner’s                          locate and identify

    5
     Publicizing inaccurate and potentially embarrassing information regarding
    could similarly damage

    6
        As explained in Warner’s reply brief in support of its motion for summary judgment,




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    infringing content online in the first instance. See Thompson Decl. Exhibit 4 at 87-88. As
    explained supra, publication of this type of information risks seriously undercutting Warner’s
    copyright enforcement efforts.
           Even if there were some genuine public interest in Warner’s internal review of its
    antipiracy efforts, the isolated and misleading internal emails on which Hotfile predicated its
    accusations regarding the accuracy of Warner’s system would do more to mislead than to inform
    the public. As Warner explained in its reply memorandum of law in support of its motion for
    summary judgment,




    Making public the misimpression that these misleading emails would create in isolation would
    force Warner to release further sensitive, confidential information about its antipiracy system
    simply to correct the record. It would thus present Warner with the untenable choice of either
    enduring unjust public embarrassment based on a misleading and partial record, or being forced
    to release further information that would undercut the effectiveness of its antipiracy efforts.
    Warner should not be forced to make that choice.
           Moreover, there is nothing that weighs in favor of disclosing the results of Warner’s
    internal investigation into Hotfile’s allegations. The documents on which Hotfile based its
    accusations regarding Warner’s error rate are between two and four years old, and thus have
    limited or no relevance to the operation of Warner’s system today, now that Warner has made
    improvements in response to knowledge it gained during this litigation; thus, while the
    documents create an undue and unnecessary risk of embarrassment to Warner, they provide no
    relevant information about the accuracy of Warner’s system at any recent point in time. Any
    public interest in Warner’s internal deliberations regarding its system as it existed before its 2011
    improvements is therefore nonexistent. The internal operation of Warner’s antipiracy system
    several years ago is a private concern, not a matter of public importance. See Romero, 480 F.3d
    at 1246 (in determining whether to keep information under seal, courts should consider “whether
    the information concerns public officials or public concerns”); Steinger, 626 F. Supp. at 1234
    (same). And again, by limiting its request for continued confidentiality to only a small subset of


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   the materials designated as confidential in this case, Warner has restricted its request for
   continued confidentiality so as to minimize any burden on the public. Cf. Romero, 480 F.3d at
   1246 (courts should consider whether there is a less onerous alternative to sealing documents).
   Moreover, no third party has moved to make this information public. Warner’s legitimate
   interest in maintaining the confidentiality of its audits of its antipiracy systems, coupled with the
   significant risk of harm to Warner if such information is disclosed publicly, outweigh any
   theoretical public interest in their disclosure.
   II.     INFORMATION REGARDING COLUMBIA’S COPYRIGHT ENFORCEMENT
           CRITERIA.

           This Court should likewise maintain the confidentiality of information regarding Plaintiff
   Columbia’s copyright enforcement criteria. In their summary judgment filings, Defendants cited
   two specific pieces of information regarding Columbia’s enforcement policies that, if revealed to
   the public, could compromise Columbia’s ability to protect its copyrighted works:




                                                                                               7
                                                                                                   Thus,
   while Columbia has the right to protect against the online infringement of its copyrighted works,
   it has made certain decisions regarding enforcement priorities that could be exploited by putative
   infringers were those criteria made public. Recognizing this fact, Columbia has long worked to
   maintain the confidentiality of this information; Columbia “closely guard[s] information about
   [its] antipiracy strategies” and reveals information about these strategies only to those directly
   involved in the protection of particular works. Declaration of Vicki R. Solmon in Support of
   Plaintiffs’ Application for Protective Order (D.E. 106-13), ¶4 [hereinafter “Solmon Decl.”].
           As with the information regarding the operation of Warner’s antipiracy system,
   information regarding Columbia’s enforcement criteria and policies could be exploited by
   putative infringers if it were to become widely known.




   7
    The information regarding Columbia’s antipiracy policies that has previously been designated
   and should remain confidential or highly confidential is identified in Exhibit D.

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                                                  Thus, making this information public could both
   provide a "road map" for copyright infringement and encourage activity harmful to Columbia's
   brand and goodwill with consumers, as well as undercutting the "considerable" time spent by
   Columbia's lawyers and paralegals every year formulating Columbia's antipiracy efforts and
   supervising their implementation. Solmon Decl., ¶5.
          In contrast, the public has no valid interest in obtaining this information. Much like the
   information regarding Warner's antipiracy system and methods, the only possible public use of
   information regarding Columbia's antipiracy policies would be to circumvent them. Indeed,
   there has not even been athird-party request for this information. For that reason alone,
   Columbia's antipiracy policies should be kept under seal. Further, Columbia seeks to redact only
   two specific pieces of information revealed in only a few locations in the record; in other words,
   it has minimized the burden on the public by limiting its request for continued confidentiality.
   Cf. Romero,480 F.3d at 1246. Finally, the information Columbia seeks to keep under seal
   concerns only the private protection of its copyrighted works, rather than public concerns of any
   kind, further weighing in favor of confidentiality. See id.; Steinger, 626 F. Supp. 2d at 1234.
   III.   COMMERCIALLY SENSITIVE THIRD-PARTY PRICING INFORMATION.

          Finally, there is no reason to publicly reveal information, produced by third party Vobile,
   Inc.("Vobile") regarding the business and pricing arrangements between Vobile and the
   Plaintiffs in this case.A Vobile's work on behalf of Plaintiffs, by its very nature, involves
   sensitive, proprietary information that could compromise Plaintiffs' business if revealed: _




   8 The Chief Executive Officer of Vobile, Yangbin Wang, has provided a declaration, attached
   hereto as Exhibit E,requesting that the Court maintain such information as confidential, which
   Plaintiffs are providing to the Court at Vobile's request. The information regarding Vobile's
   business and pricing information that Plaintiffs have previously designated and that should
   remain confidential or highly confidential is attached hereto as Exhibit F.

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                                         The record contains sensitive information regarding both the
   services that Vobile provides to the Plaintiffs and the price of those services.
           Courts have long recognized that confidential pricing information is proprietary
   information that should typically be kept under seal. See, e.g., In re Boston Herald, Inc., 321
   F.3d 174, 190(1st Cir. 2003)(pricing information is a protectable trade secret); Uniroyal Chem.
   Co. v. Syngenta Crop Prot., 224 F.R.D. 53, 57(D. Conn. 2004)("Pricing and marketing
   information are widely held to be confidential business information ...."); Confederated Tribes
   of~Siletz Indians ofOr. v. Weyerhaeuser Co., 340 F. Supp. 2d 1118, 1124(D. Or. 2003)
   (unsealing contract terms, but redacting pricing information); Star Scientific, Inc. v. Carter, 204
   F.R.D. 410, 414(S.D. Ind. 2001)(pricing information is a protectable trade secret); see also
   Graphic Packaging Intl, Inc. v. C. W. Zumbiel Co., No. 3:10-cv-891-J-JBT, 2010 WL 6790538,
   at *2(M.D. Fla. Oct. 29, 2010)("Courts have found that a company's interest in the privacy of
   its financial records and the terms of confidential agreements, however, often outweigh the
   public right of access."). Publicizing the pricing terms of Plaintiffs' business arrangements with
   Vobile would cause unnecessary injury to Vobile's and Plaintiffs' legitimate commercial interest
   in keeping such information confidential. Indeed, in the case of Vobile, such information could
   cause injury by allowing competitors to undercut Vobile's pricing. See Declaration of Yangbin
   Wang (attached as Exhibit E); see also, e.g., MEDAI, Inc. v. Quantros, Inc., No. 6:12-cv-840-
   Or1-375GJK, 2012 WL 2512007, at *2(M.D. Fla. June 29, 2012)(recognizing protecting
   confidential information from unnecessary exposure to competitors as a basis for keeping
   information sealed); United States ex rel. Westfall v. Axiom Wor^lc~wide, Inc., No. 8:06-cv-571-T-
   33TBM,2008 WL 5341140, at *4(M.D. Fla. Dec.19, 2008)(requiring that a customer list
   compiled by a company be filed under seal due in part to its value to competitors); see also
   Chicago Tribune, 263 F.3d at 1313 (whether information would be valuable to a competitor is a
   factor in determining whether information is a trade secret, which therefore should be kept under
   seal). The risk of harm to Vobile's business interests is therefore significant.
           In addition to the potential commercial harm to the Plaintiffs from exposing the
   confidential terms of their business arrangements with a vendor, Vobile is not a party to this
   litigation, and its proprietary interests are therefore entitled to a higher degree of protection.
  "[T]he privacy interests of innocent third parties ...should weigh heavily in a court's balancing


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   equation." Gardner v. Newsday, Inc. (In re Application ofNewsday, Inc.), 895 F.2d 74, 79-80
   (2d Cir. 1990); see United States v. Amodeo, 71 F.3d 1044, 1500-01 (2d Cir. 1995); see also
   United Slates v. Smith, 776 F2d 1104, 1113-15 (3d Cir. 1985). Indeed, at least one court in this
   Circuit has suggested that the interest of a third party in keeping private confidential information
   necessarily outweighs the public interest in disclosure. See FDIC v. Brudnicki, No. 5:12-ev-
   00398-RS-GRJ, 2013 WL 5814494, at * 1 n.l (N.D. Fla. Oct. 29, 2013)("The answers to
   interrogatories contain personal financial information relating to third parties and therefore the
   interest in keeping these documents confidential outweighs the public's interest in disclosure.").
          In this case, any public interest in the disclosure of this information is minimal — if it
   exists at all. Vobile's commercial arrangements with the Plaintiffs and the pricing for those
   arrangements concerns only the parties' respective private business interests, not matters of
   public concern. See Romero,480 F.3d at 1246. Moreover, there is not a less onerous alternative
   to redacting Vobile's pricing information: if the information is not redacted, then it will become
   public —and available to Vobile's competitors — as soon as the record is unsealed. Id. Vobile's
   proprietary interest in its pricing information, and the risk of harm if that information is revealed,
   therefore outweigh this minimal public interest in revealing Vobile's pricing information.
                                             CONCLUSION

          For the foregoing reasons, this Court should keep confidential the information identified
   in Exhibits A, B, C, D, F, and Exhibit E,the Declaration of Yangbin Wang appended hereto.




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   DATED: January 31, 2014            Respectfully submitted,

                                      By: /s/ Karen L. Stetson
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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 31st day of January, 2014, I served the following

   document on all counsel of record on the attached service list via their email addresses) pursuant

   to the parties' service agreement:

          Plaintiffs' Response to the Court's Omnibus Order of November 26,2013


                                                By: /s/
                                                Karen L. Stetson
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                                               SERVICE LIST

                         Disney Enterprises, Inc., et al. v. Hotfile Corp. et al.
                         CASE NO.11-CIV-20427-WILLIAMS-TURNOFF




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